AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original
                                                                                                                          Feb 24, 2021
                                           UNITED STATES DISTRICT COURT                                                 s/ JeremyHeacox
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)
         Information associated with the cellular
                                                                            )
                                                                            )
                                                                                   Case No.
                                                                                              21-M-339 (SCD)
          telephone assigned call number (612)                              )
                       434-6918                                             )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B




        YOU ARE COMMANDED to execute this warrant on or before             3-10-21                     (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                        Hon. Stephen Dries                   .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                      .


Date and time issued:                2-24-21 11:20 am
                                                                                                          Judge’s sig
                                                                                                                  signature

City and state:                         Milwaukee, Wis                                  Hon. Stephen Dries, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 2:21-mj-00339-SCD Filed 02/24/21 Page 1 of 30 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                           Case 2:21-mj-00339-SCD Filed 02/24/21 Page 2 of 30 Document 1
                                     ATTACHMENT A

                                   Matter No. 2020R00323

                                   Property to Be Searched

       This warrant applies to records and information associated with the cellular telephone

assigned call number (612) 434-6918 that is stored at premises controlled by Metro PCS/T-Mobile,

a wireless telephone service provider headquartered at 4 Sylvan Way, Parsippany, NJ 07054.




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                                        ATTACHMENT B

                                     Matter No. 2020R00323

                                  Particular Things to be Seized

       I.       Information to be Disclosed by the Provider

       To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is still

available to the Provider or that has been preserved pursuant to a request made under 18 U.S.C. §

2703(f), the Provider is required to disclose to the government the following information

pertaining to Account), for the time period from August 23, 2020 through August 25, 2020:


             a. The following information about the customers or subscribers of the Account:

                    i. Names (including subscriber names, user names, and screen names);

                    ii. Addresses (including mailing addresses, residential addresses, business
                        addresses, and e-mail addresses);


                   iii. Local and long distance telephone connection records;

                   iv. Records of session times and durations, and the temporarily assigned
                       network addresses (such as Internet Protocol (“IP”) addresses) associated
                       with those sessions;


                    v. Length of service (including start date) and types of service utilized;

                   vi. Telephone or instrument numbers (including MAC addresses, Electronic
                       Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                       Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                       (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                       Integrated Services Digital Network Number (“MSISDN”); International
                       Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                       Equipment Identities (“IMEI”);


                  vii. Other subscriber numbers or identities (including the registration Internet
                       Protocol (“IP”) address); and

                                                 21

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                  viii. Means and source of payment for such service (including any credit card
                        or bank account number) and billing records.


             b. All records and other information (not including the contents of communications)

                relating to wire and electronic communications sent or received by the Account,

                including:

                     i. the date and time of the communication, the method of the
                        communication, and the source and destination of the communication
                        (such as the source and destination telephone numbers (call detail
                        records), email addresses, and IP addresses);

                    ii. information regarding the cell tower and antenna face (also known as
                        “sectors”) through which the communications were sent and received,
                        including the locations of any cell tower and antenna face; and

                   iii. historical location records (including historical locational precision
                        information, historical handset location data, estimated location records,
                        geolocation information (PING), Network Event Location System
                        (NELOS) data, Global Positioning System (GPS) data, cell tower
                        triangulation or trilateration, round-trip time (RTT), per-call measurement
                        data (PCMD), historical E911 data, or precision measurement
                        information).

             c. A list of definitions or keys identifying all information contained in the records.

       II.      Information to be Seized by the Government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of the federal prohibitions against conspiracy to commit arson, in

violation of Title 18, United States Code, Section 844(n), and arson of commercial property, in

violation of Title 18, United States Code, Section 844(i).


       Law enforcement personnel (who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

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authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.




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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT                                                                  Feb 24, 2021
                                                                   for the                                                    s/ JeremyHeacox
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
                                                                                                       21-M-339 (SCD)
          or identify the person by name and address)                        )              Case No.
     Information associated with the cellular                                )
                                                                             )
telephone assigned call number (612) 434-6918                                )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A

located in the                                    District of                                           , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        Title 18, U.S.C., Section 844             arson; conspiracy to commit arson
        (n), (i)

          The application is based on these facts:
        See the attached affidavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                              BRADLEY KURTZWEIL Digitally signed by BRADLEY KURTZWEIL
                                                                                                Date: 2021.02.24 10:49:10 -06'00'

                                                                                                       Applicant’s signature

                                                                                                  ATF SA Bradley Kurtzweil
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic
                                                                               nic m eans).
                                                                                   means)


Date:             2-24-21
                                                                                                         Judge’s signature

City and state:              Milwaukee, Wis                                             Hon. Stephen Dries, U.S. Magistrate Judge
                      Case 2:21-mj-00339-SCD Filed 02/24/21 Page 7 ofPrinted name and title
                                                                      30 Document           1
                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

                                     Matter No. 2020R00323

       I, Bradley Kurtzweil, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant for

information associated with a certain cellular telephone assigned call number (612) 434-6918 that

is stored at premises controlled by Metro PCS/T-Mobile, a wireless telephone service provider

headquartered at 4 Sylvan Way, Parsippany, NJ 07054. The information to be searched is

described in the following paragraphs and in Attachment A. This affidavit is made in support of

an application for a search warrant under 18 U.S.C. § 2703(c)(1)(A) to require this same provider

to disclose to the government copies of the information further described in Section I of

Attachment B.      Upon receipt of the information described in Section I of Attachment B,

government-authorized persons will review the information to locate items described in Section II

of Attachment B.

       2.       I am a Special Agent of the United States Justice Department, Bureau of Alcohol,

Tobacco, Firearms and Explosives (ATF), currently assigned to the Milwaukee Field Office. I

have been so employed since March 2020. My duties as a Special Agent with ATF include

investigating alleged violations of the federal firearms, explosives, and arson statutes.

       3.       I have completed approximately 26 weeks of training (approximately 1000 hours)

at the Federal Law Enforcement Training Center (Glynco, Georgia), as well as the ATF National

Academy. That training included various legal courses related to Constitutional Law as well as

search and seizure authority. Additionally, I have received training on how to conduct various




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tasks associated with criminal investigations, such as: interviewing, surveillance, and evidence

collection.

       4.       Prior to my employment with the ATF, I was a sworn Police Officer in the State of

Illinois from March 2011 to March 2020. I completed 12 Weeks (approximately 480 hours) of

basic training at the Illinois State Police Academy from April 2011 to June 2011.

       5.       My most recent position as a Police Officer, prior to my employment with ATF,

was with the Bolingbrook Police Department in Bolingbrook, IL. While employed by the

Bolingbrook Police Department, I was a Patrol Officer from December 2012 until March 2020.

From July 2017 until March 2020, I also served as an Evidence Technician, assigned to Patrol.

During my time in Bolingbrook, I received 8 Written Recognitions and 2 Commendations.

       6.       During my career as a Police Officer, I attended approximately 520 hours of

additional training in areas including: evidence collection, interview/interrogation, arson and

explosives, gang investigations; and drug investigations.

       7.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.


       8.       Based on the facts as set forth in this affidavit, there is probable cause to believe

that the information described in Attachment A contains evidence of conspiracy to commit arson

and arson of commercial property, in violation of Title 18, United States Code, Sections 844(n)

and 844(i).




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                                       PROBABLE CAUSE

       9.        On August 23, 2020, Jacob Blake was shot multiple times by officers of the

Kenosha Police Department. That incident triggered both non-violent protests and violent rioting,

including numerous arsons throughout the City of Kenosha. The ATF subsequently deployed its

National Response Team of arson investigators to Kenosha to process the fire scenes, collect video

evidence, and identify potential suspects.

       10.       On August 26, 2020, ATF and the Kenosha Police Department conducted a fire

scene investigation at Charlie’s 10th Hole bar, located at 3805 22nd Avenue, Kenosha, Wisconsin.

Investigators located two areas of separate fire damage, one on the outside of the building and one

on the inside.

       11.       Investigators also collected hours of surveillance videos from multiple locations,

including Charlie’s 10th Hole bar. The following facts are distilled from relevant video surveillance

footage reviewed by law enforcement as part of this investigation.




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       12.     On August 24, 2020, at approximately 11:25 pm, multiple people walked

southbound on a sidewalk toward Charlie’s 10th Hole bar, located at 3805 22nd Avenue, Kenosha,

Wisconsin. At approximately 11:26 pm, a male wearing a dark sweatshirt with white lettering

used an apparent ignitable liquid to set fire to the north exterior of the bar. At approximately 11:27

pm, this same group of people reacted to an unknown off-camera event by crouching and looking

to the southwest. In response to that same event, a male in the group, who was wearing a dark

hoodie, light shorts, white shoes, and a light colored facemask, removed a handgun from his

waistband and fired two rounds toward the southwest. The male shooter walked with a distinct

gait, as his toes pointed outward. Investigators later recovered spent 9mm ammunition casings on

the ground near the area where the shooting had occurred, and the analysis of those casings is

ongoing.

       13.     At approximately 11:28 pm, an unknown subject from the same group threw a

flaming object through the front window of Charlie’s 10th Hole bar. At about this same time, some

members of this group began to walk west, across 22nd Avenue, toward a CVS located at 3726

22nd Avenue.




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       14.     Approximately 14 people unlawfully entered that CVS store at approximately

11:30 pm on August 24, 2020. The unlawful intruders included a heavyset black male wearing a

dark facemask, backwards hat, and a red shirt with “Tom and Jerry” cartoon graphics. A second

intruder was a male wearing a red shirt, light colored shorts, and a shirt covering his head. A third

intruder was a black female with frizzy long hair, wearing black leggings and a light colored

facemask. A fourth intruder was a white male wearing dark colored camouflage pattern shorts and

shirt. A fifth intruder was a male wearing a dark hoodie, light shorts, white shoes, and a light

colored facemask, which is consistent with the appearance of the individual who discharged a

firearm outside Charlie’s 10th Hole bar. Other intruders inside the CVS included a black male

wearing an orange shirt; a male wearing a yellow sweatshirt; and a suspect wearing a dark hoodie

with white lettering that spelled “The Sanneh Foundation,” which is a non-profit organization

located in St. Paul, Minnesota.

       15.     The Kenosha Police Department responded to the CVS burglary and apprehended

Jaquan Moore inside the store while other intruders fled. Upon arrival, officers observed the

bottom half of CVS’s glass sliding doors were shattered and entered the building to check for

subjects. Multiple people fled, but officers were able to apprehend Moore, who was wearing a

white t-shirt around his head and face to conceal his identity, along with a gray shirt and dark

pants. Officers located a silver hammer with a black handle and a flathead screwdriver with a

black-and-red handle in the immediate area around Moore. Officers noted that cash drawers and

pill bottles were strewn across the floor, and the store was in disarray. The pharmacy section of

the CVS had hundreds of pill bottles strewn across the floor, one shelf of medication was tipped

over, and the medication refrigerators were opened. CVS pharmacy completed an inventory and




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found that $1,247.53 of controlled substances and $10,821.42 of non-controlled substances were

missing from the store.

       16.     For that crime, Moore was charged with burglary, in violation of Wisconsin Statute

943.10(1m)(a), the next day in Kenosha County Case No. 2020CF000973. According to publicly

available court records, Moore’s full name is Jaquan D. Moore, his date of birth is October 4, 1997,

his phone number is (612) 802-8429, and his address is 1014 Rockefeller Lane, Unit 2, Madison,

Wisconsin 53704.

       17.     ATF later interviewed Moore twice, who eventually acknowledged that he

had traveled with a group of people from the Twin Cities in Minnesota on August 24, 2020 to

participate in “the riots” in Kenosha, Wisconsin. He said that he was standing next to the

person who started the fire at Charlie’s 10th Hole bar. Moore said that he left his cell phone in

the vehicle of a person known to him as “George.” Moore confirmed that the call number

assigned to his cell phone is (612) 802-8429. Moore also said there were three vehicles that

traveled together from Minnesota to Kenosha: a Dodge car, a white car, and a dark SUV.

Moore said he was a passenger in the Dodge car.

       18.     During a subsequent canvass of Kenosha, investigators located additional

surveillance video from the Stella Hotel located at 5706 8th Avenue, Kenosha, Wisconsin.

Review of this surveillance video showed that a Dodge car, white sedan, and dark SUV

parked in the area behind the hotel on August 24, 2020 at approximately 9:30 pm—

consistent with Moore’s statement. Four individuals exited the Dodge car: two black males

wearing pants; a white male wearing dark colored camouflage shirt and shorts; and a black

male with long dreadlocks. Four males also exited the white sedan.




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       19.     The most distinct footage was generated of the five individuals exiting the

dark SUV. This footage depicted a black female with frizzy hair exiting the rear passenger

area of the dark SUV. The footage also shows another female exiting from the dark SUV’s

backseat area. A heavyset black male can be seen exiting from the dark SUV’s front

passenger door, wearing a t-shirt with graphics similar to the aforementioned “Tom and

Jerry” shirt. A black male with facial hair can be seen exiting the driver door of the dark

SUV, wearing shorts. Finally, a thin, black male wearing a light colored facemask can be

seen exiting the dark SUV’s backseat, wearing light colored shorts and white shoes. This

black male had long dreadlocks that extended down to approximately the middle of his back.

This same black male then can be seen putting on a dark hoodie and walking away from the

SUV, exhibiting a distinct gate with his toes pointed outward.

       20.     The dark SUV’s license plate was later enhanced and found to be Nevada

plate #798L96, which was assigned to a 2020 Nissan Pathfinder rental car owned by Hertz

corporation. According to records later obtained from Hertz, the Nissan Pathfinder was

rented by Natasha Bennett at the Minneapolis International Airport on August 22, 2020 and

returned on August 25, 2020. Investigators initially believed Bennett was the black female

referenced above, but later determined the female did not match the likeness of Bennett’s

Minnesota driver’s license photograph.

       21.     A query of people who have used Natasha Bennett’s home address showed

that Kannasysha Stevenson (DOB: 8/09/2001) had used the same address as Bennett.

Investigators also located a video of Stevenson on Bennett’s Facebook page This video from

Bennett’s Facebook page showed Stevenson with frizzy hair on August 19, 2020. This same

video from August 19, 2020 depicted Stevenson sitting in front of a birthday cake with



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“Happy Birthday Kannasysha” printed on the cake. Bennett “tagged” Stevenson in the

Facebook posting related to this video using Stevenson’s Facebook account name: “NayNay

Macc”.

         22.   Investigators reviewed the publicly available list of Facebook friends of

Stevenson’s “NayNay Macc” Facebook account and noted that she was Facebook friends

with a Facebook account bearing the username “La Dave Llbd”. “La Dave Llbd” was also a

listed friend for Jaquan Moore on Moore’s Facebook account “BackDooe Jq”.

         23.   Furthermore, investigators observed that “La Dave Llbd” was Facebook

friends with “Anthony Clay (Stack Bundles),” who is also a Facebook friend to Moore.

Investigators had previously reviewed a recorded jail call placed by Moore on August 25,

2020, in which Moore instructed the other party on the line to contact “Anthony Clay” via

Facebook to retrieve Moore’s belongings from Clay, including Moore’s wallet, cellphone,

and “scripts.” Neither Moore’s wallet nor cellphone were on his person at the time of his

arrest inside the CVS. During another call, Moore said that he went into the CVS with

others—that the others went in to steal Percocets, but he was the one who was caught. He

admitted that he brought a screwdriver with him, but claimed he was unable to steal

anything.

         24.   While reviewing Stevenson’s list of Facebook friends, investigators also

identified an account with the profile name “Bullykapper Bubba”. “Bullykapper Bubba” was

observed to be a black male with braided long hair as well as facial hair. “Bullykapper

Bubba” was also a listed Facebook friend for “Anthony Clay (Stack Bundles)” and “La Dave

Llbd”.




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       25.     “Bullykapper Bubba” posted a Facebook live video on September 10, 2020,

which depicted a traffic stop conducted by law enforcement. During the traffic stop, the user of

the account is identified as “Allen” and a passenger in the vehicle named “Michael” is arrested

for an outstanding warrant. Law enforcement contacted the Hennepin County Dispatch Center in

Minnesota and provided them the date, time, and first names “Allen” and “Michael,” requesting

any related records. The Hennepin County Dispatch Center reported that at the corresponding

date and time, Allen Michael King (DOB: 10/04/1995) was issued a traffic citation and his

brother, Michael Valentino King (DOB: 3/28/2000), was arrested for an outstanding warrant.

Allen King’s Minnesota driver’s license photograph was compared to the image of the user of

the “Bullykapper Bubba” Facebook account and law enforcement determined that the images

appeared to be of the same person.

       26.     A review of the publicly available timeline on Allen King’s “Bullykapper

Bubba” Facebook page showed various postings suggesting that King, Stevenson, and other

associates from Minnesota were included in the group that committed various crimes at

Charlie’s 10th Hole Bar and burglarized the CVS. First, King posted that he was with the

individuals associated with the Facebook accounts “La Dave Llbd” and “Get Emdone” on

August 24, 2020 at 3:30pm. Specifically, King indicated that he and these other two

individuals were on a “money mission.” In a “comment” appended to that same posting,

King tagged another account, “SF Kevin vs Bullyloc”, and wrote: “twin we woke up on

mission.” The “SF Kevin vs Bullyloc” account responded by writing “Factz.” Law

enforcement knows that it takes approximately five hours and thirty minutes to drive from

the Twin Cities area in Minnesota to Kenosha, Wisconsin, such that the timing of this post is




                                                9

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consistent with the arrival of King’s group near the Stella Hotel in Kenosha at approximately

9:30 PM on August 24, 2020.

       27.     Then, a few minutes later, King posted a link to a news article related to the

officer involved shooting in Kenosha, WI.

       28.     Allen King’s next Facebook post was a video on his timeline at 9:52 pm on

August 24, 2020, in which he announced that he and his group were in Kenosha, Wisconsin.

Law enforcement downloaded this video and observed that it depicted civil unrest.

       29.     Allen King is also seen in this same video with a heavyset black male wearing

a red shirt with “Tom and Jerry” graphics. The video then pans to show that King was

walking with a larger group that included a male in an orange shirt and another male in a

yellow sweatshirt. Additionally, King captured images of a black female with frizzy hair.

The image of the black female is consistent with it being Stevenson, and also consistent with

the female intruder inside the CVS.

       30.     Later in the video, King is heard encouraging someone to open a building and

start it on fire, but it is unknown if such action was taken. Further along in the video, King is

seen walking next to a black male wearing a dark hoodie, light facemask, light colored

shorts, and white shoes, similar to the shooting suspect from Charlie’s 10th Hole bar. Near

the end of the video, King and Stevenson are seen walking back towards a black SUV when

King is heard repeating an unknown third party’s admonition that, “We need to steal so we

can start crashing through shit.”

       31.     A further review of King’s Facebook page revealed he posted an image of himself

and another person wearing the same outfit on August 27, 2020. King “tagged” the account “SF

Kevin vs Bullyloc” in this picture and again referred to this person as his “twin.” Based on this



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“tag,” it appears as if the user of the “SF Kevin vs Bullyloc” account is a thin, black male with

long dreadlock hair. Based on (i) the consistency between the appearance of the shooter at

Charlie’s Bar and the appearance of the user of the “SF Kevin vs Bullyloc” account; and (ii) the

August 24 posting wherein the user of the “SF Kevin vs Bullyloc” account affirms that he is on a

“mission” with King on August 24, 2020, law enforcement believes that the shooter at Charlie’s

Bar is the user of the “SF Kevin vs Bullyloc” account.

       32.     In August 28, 2020, the Honorable Mary Wagner, of the Kenosha County Circuit

Court, signed a search warrant for the historical location information associated with Moore’s

cell phone number. The listed subscriber for Moore’s cell phone number appears to be one of the

same people that Moore communicated with during jail calls. A preliminary review of this same

location information showed that Moore’s phone traveled from Minnesota to Kenosha on or

about August 24, 2020, leaving the Twin Cities area at approximately 2:00 pm and arriving in

the Kenosha area at approximately 8:50 p.m. Moore’s cell phone was then stationary in Kenosha

for several hours, including at the time of the arson. (He was arrested on August 24, 2020 at

approximately 11:59 p.m.) On August 25, 2020 at approximately 12:22 a.m., Moore’s cell phone

returned from Kenosha to Minneapolis, Minnesota, arriving at approximately 6:00 a.m. (while

Moore was in custody). On August 25, 2020 at approximately 5:21 p.m., the cellular device

appeared to have powered off. Based on this course of travel and the aforementioned jail call

wherein Moore directs a third party to retrieve his personal effects from his Facebook friend

“Anthony Clay,” law enforcement believes that (i) Moore and Clay were in Kenosha together the

evening of August 24, 2020; and (ii) Clay came into possession of Moore’s personal effects

because Moore stated during his interview that he had left his cellphone (and likely other items)

in the Dodge car.



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       33.     On October 20, 2020, ATF Special Agent Rick Hankins downloaded Facebook

records for “Anthony Clay” pursuant to a federal search warrant. “Anthony Clay” is a black

male later identified as Anthony Deshawn Clay (DOB: 10/15/1997). The Facebook records for

Clay were inventoried as ATF Item #17.

       34.     The booking photograph of Anthony Clay from the Minneapolis Police

Department was compared to images depicted on the aforementioned “Anthony Clay” Facebook

page, and the images appeared to be the same person.

       35.     The following is a summary of information obtained from Clay’s Facebook

records:

       36.     On August 24, 2020, at 11:57am, Clay sent the following message to the

Facebook profile known by law enforcement to be used by David GARNER, “Finna be On my

way! Getting oil changed”. On this same date, at 1:16pm, Clay voice called GARNER via

Facebook. On August 24, 2020, at 1:06pm, Clay attempted to video chat with the Facebook

account used by Jaquan Moore.

       37.     On August 24, 2020, at 1:17pm, Clay sent the following message to Facebook

username “Deon Nolove Sanstad”: “Let’s go puss”. Sanstad replied, “where we going”, and

CLAY wrote, “Wisconsin”.

       38.     Also on August 24, 2020, at 1:46pm, GARNER received the following message

from Clay: “Here”. GARNER and Clay then had a Facebook video chat at 1:49pm.

       39.     On August 24, 2020, at 7:33pm, Facebook username “Davion Williams” sent

Clay the following message: “what city yall in”, to which Clay replied, “Almost to Milwaukee”.

At 7:36pm, Williams wrote to Clay, “stop at the next gas station,” “we need to grab gas”.




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       40.     On August 25, 2020, at 12:28am, Clay posted a video from inside a vehicle

that showed crowds of people outside the vehicle. The video included a printed statement

“Wisconsin going crazy”.

       41.     On August 25, 2020, at 12:53am, Clay posted a video from inside a vehicle

that was traveling northbound on I94 as the vehicle approached the Marquette interchange in

Milwaukee, Wisconsin.

       42.     On February 3, 2021, ATF Special Agent Rick Hankins reviewed Google data

related to David GARNER.

       43.     ATF previously obtained a Google reverse location search warrant regarding

potential devices inside or near the Stella Hotel & Ballroom located at 5706 8th Avenue,

Kenosha, Wisconsin on August 24, 2020. The parameters of the information requested in the

search warrant are detailed in Figure #1.




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                                           Figure 1



       44.     Google subsequently responded to the above search warrant request and provided

information regarding multiple devices that were in the prescribed area detailed in Figure #1

between 9:25pm – 9:45pm. The devices included device # -1126896735, which is a device

associated with username David GARNER. Information regarding GARNER’S device is found

below, including GPS coordinates at specific times. The last column provides an estimated

radius of accuracy for the GPS coordinates in meters. Google also provided a Google Subscriber

Information sheet for the GARNER device. A listed phone number for the account is (612) 422-




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2739. Information received from AT&T pursuant a federal search warrant indicated this phone

number was not active with that carrier from 08/23/2020 to 08/25/2020.




                 Figure 2 - Google data regarding GARNER'S device locations



       45.    Agent Hankins subsequently placed digital markers in chronological order for

GARNER’s device in Google Earth using the latitude and longitude coordinates provided by

Google. The estimated locations for the device are shown in Figures #3.




     Figure 3 - Approximate locations of GARNER'S device according to Google data


       46.    Law enforcement previously received information from Facebook, pursuant a

federal search warrant, for David Garner’s Facebook data. This information listed the same


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phone number provided by Google, along with another phone number, (612) 434-6918, as being

registered to his Facebook account. Law enforcement has determined, after review of databases

known to be reliable in the past, that the provider associated with (612) 434-6918 was Metro

PCS/T-Mobile.


                                 TECHNICAL INFORMATION

       47.      Based on my training and experience, I know that cellular telephone providers can

collect historical and prospective cell-site data and historical and prospective E-911 Phase II data

about the location of the cellular telephones to which they provide service, including by initiating

a signal to determine the location of the cellular telephone on cellular telephone provider networks

or with such other reference points as may be reasonably available.


       48.      In my training and experience, I have learned that cellular telephone providers are

companies that provides cellular telephone access to the general public. I also know that providers

of cellular telephone service have technical capabilities that allow them to collect and generate

information about the locations of the cellular telephones to which they provide service, including

cell-site data, also known as “tower/face information” or “cell tower/sector records.” Cell-site data

identifies the “cell towers” (i.e., antenna towers covering specific geographic areas) that received

a radio signal from the cellular telephone and, in some cases, the “sector” (i.e., faces of the towers)

to which the telephone connected. These towers are often a half-mile or more apart, even in urban

areas, and can be 10 or more miles apart in rural areas. Furthermore, the tower closest to a wireless

device does not necessarily serve every call made to or from that device. Accordingly, cell-site

data provides an approximate location of the cellular telephone, but is typically less precise than

other types of location information, such as E-911 Phase II data or Global Positioning Device

(“GPS”) data.

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       49.      Based on my training and experience, I know that for each communication a

cellular device makes, its wireless service provider can typically determine: (1) the date and time

of the communication; (2) the telephone numbers involved, if any; (3) the cell tower to which the

customer connected at the beginning of the communication; (4) the cell tower to which the

customer was connected at the end of the communication; and (5) the duration of the

communication.


       50.      Based on my training and experience, I know that cellular telephone providers can

collect cell-site data about the cellular telephones using its network. I also know that wireless

providers typically collect and retain cell-site and other cellular network data pertaining to cellular

phones to which they provide service in their normal course of business in order to use this

information for various business-related purposes. From this data, wireless providers can also

estimate the historical locations of cellular telephones using their networks. These estimates are

drawn from data collected in the normal course of business, including cell-site and other cellular

network data.


       51.      I know that some providers of cellular telephone service, have technical capabilities

that allow them to collect and generate E-911 Phase II data, also known as GPS data or latitude-

longitude data. E-911 Phase II data provides relatively precise location information about the

cellular telephone itself, either via GPS tracking technology built into the phone or by triangulating

on the device’s signal using data from several of the provider’s cell towers. I also know that certain

wireless providers can provide precision location information, also known as estimated location

records or historical handset location data, on both a historical and prospective basis. Each provider

refers to its proprietary estimates of a cellular device’s location differently. This information,

however, is sometimes referred to as geolocation information (PING), Network Event Location

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System (NELOS) data, Global Positioning System (GPS) data, cell tower triangulation or

trilateration, round-trip time or real-time tool (RTT), per-call measurement data (PCMD),

historical E911 data, or precision measurement information.


       52.     Based on my training and experience, I know each cellular device has one or more

unique identifiers embedded inside it. Depending on the cellular network and the device, the

embedded unique identifiers for a cellular device could take several different forms, including an

Electronic Serial Number (“ESN”), a Mobile Electronic Identity Number (“MEIN”), a Mobile

Identification Number (“MIN”), a Subscriber Identity Module (“SIM”), a Mobile Subscriber

Integrated Services Digital Network Number (“MSISDN”), an International Mobile Subscriber

Identity (“IMSI”), or an International Mobile Equipment Identity (“IMEI”). The unique identifiers

– as transmitted from a cellular device to a cellular antenna or tower – can be recorded by pen-trap

devices and indicate the identity of the cellular device making the communication without

revealing the communication’s content.


       53.     Based on my training and experience, I know that wireless providers typically

collect and retain information about their subscribers in their normal course of business. This

information can include basic personal information about the subscriber, such as name and address,

and the methods of payment (such as credit card account number) provided by the subscriber to

pay for wireless telephone service. I also know that wireless providers typically collect and retain

information about their subscribers’ use of the wireless service, such as records about calls or other

communications sent or received by a particular phone and other transactional records, in their

normal course of business.




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                                AUTHORIZATION REQUEST


       54.     Based on the foregoing, I request that the Court issue the proposed search warrant,

pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.


       55.     I further request that the Court direct the Provider to disclose to the government

any information described in Section I of Attachment B that is within its possession, custody, or

control. Because the warrant will be served on the Provider, who will then compile the requested

records at a time convenient to it, reasonable cause exists to permit the execution of the requested

warrant at any time in the day or night.




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                                     ATTACHMENT A

                                   Matter No. 2020R00323

                                   Property to Be Searched

       This warrant applies to records and information associated with the cellular telephone

assigned call number (612) 434-6918 that is stored at premises controlled by Metro PCS/T-Mobile,

a wireless telephone service provider headquartered at 4 Sylvan Way, Parsippany, NJ 07054.




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                                       ATTACHMENT B

                                    Matter No. 2020R00323

                                 Particular Things to be Seized

       I.      Information to be Disclosed by the Provider

       To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is still

available to the Provider or that has been preserved pursuant to a request made under 18 U.S.C. §

2703(f), the Provider is required to disclose to the government the following information

pertaining to Account), for the time period from August 23, 2020 through August 25, 2020:


            a. The following information about the customers or subscribers of the Account:

                   i. Names (including subscriber names, user names, and screen names);

                   ii. Addresses (including mailing addresses, residential addresses, business
                       addresses, and e-mail addresses);


                  iii. Local and long distance telephone connection records;

                  iv. Records of session times and durations, and the temporarily assigned
                      network addresses (such as Internet Protocol (“IP”) addresses) associated
                      with those sessions;


                   v. Length of service (including start date) and types of service utilized;

                  vi. Telephone or instrument numbers (including MAC addresses, Electronic
                      Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                      Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                      (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                      Integrated Services Digital Network Number (“MSISDN”); International
                      Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                      Equipment Identities (“IMEI”);


                 vii. Other subscriber numbers or identities (including the registration Internet
                      Protocol (“IP”) address); and

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                  viii. Means and source of payment for such service (including any credit card
                        or bank account number) and billing records.


             b. All records and other information (not including the contents of communications)

                relating to wire and electronic communications sent or received by the Account,

                including:

                     i. the date and time of the communication, the method of the
                        communication, and the source and destination of the communication
                        (such as the source and destination telephone numbers (call detail
                        records), email addresses, and IP addresses);

                    ii. information regarding the cell tower and antenna face (also known as
                        “sectors”) through which the communications were sent and received,
                        including the locations of any cell tower and antenna face; and

                   iii. historical location records (including historical locational precision
                        information, historical handset location data, estimated location records,
                        geolocation information (PING), Network Event Location System
                        (NELOS) data, Global Positioning System (GPS) data, cell tower
                        triangulation or trilateration, round-trip time (RTT), per-call measurement
                        data (PCMD), historical E911 data, or precision measurement
                        information).

             c. A list of definitions or keys identifying all information contained in the records.

       II.      Information to be Seized by the Government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of the federal prohibitions against conspiracy to commit arson, in

violation of Title 18, United States Code, Section 844(n), and arson of commercial property, in

violation of Title 18, United States Code, Section 844(i).


       Law enforcement personnel (who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

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authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.




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